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 6                          UNITED STATES DISTRICT COURT
 7                        CENTRAL DISTRICT OF CALIFORNIA
 8
      ~ UNITED STATES OF AMERICA,
 9

 10                              Plaintiff,      )CASE NO. MJ-20-4752
11                        v.
12 PAUL EDWARD EVANS,                               ORDER OF DETENTION
13

14                               Defendant.
15

16                                                  I.

17        A.(~ On motion ofthe Government in a case allegedly involving:
18             1.() a crime of violence.
19            2.() an offense with maximum sentence of life imprisonment or death.
20            3.()     a narcotics or controlled substance offense with maximum sentence
21                     often or more years .
22            4.()     any felony -where the defendant has been convicted oftwo or more
23                     prior offenses described above.
24            5. (vY any felony that is not otherwise a crime of violence that involves a
25                     minor victim, or possession or use ofa firearm or destructive device
26                     or any other dangerous weapon, or a failure to register under 18
27                     U.S.0 § 2250.
28        B.(✓~      On motion by the Government /( )on Court's own motion, in a case

                            ORDER OF DETENTION AFTER HEARING (18 U.S.C. §3142(1))

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  1                     allegedly involving:
 2           (~ On the further allegation by the Government of:
  3            1.(~        a serious risk that the defendant will flee.
 4             2.()        a serious risk that the defendant will:
 5                   a.()obstruct or attempt to obstruct justice.
 6                   b.()threaten, injure, or intimidate a prospective witness or juror or
 7                         attempt to do so.
 8        C. The Government(~s/()is not entitled to a rebuttable presumption that no
 9             condition or combination ofconditions will reasonably assure the defendant's
 10           appearance as required and the safety of any person or the community.
 11

 12                                                     II.

 13       A.(v~ The Court finds that no condition or combination of conditions will
 14                     reasonably assure:
 15            1.(~ the appearance ofthe defendant as required.
 16              (~ and/or
 17           2. (v~ the safety of any person or the community.
 18       B.(V~ The Court finds that the defendant has not rebutted by sufficient
 19                     evidence to the contrary the presumption provided by statute.
20

21                                                     III.
22        The Court has considered:
23        A. the nature and circumstances ofthe offenses)charged,including whether the
24            offense is a crime ofviolence,a Federal crime ofterrorism,or involves a minor
25            victim or a controlled substance, firearm, explosive, or destructive device;
26        B. the weight of evidence against the defendant;
27        C. the history and characteristics ofthe defendant; and
28        D. the nature and seriousness of the danger to any person or to the community.

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  1                                                       IV.
 2         The Court also has considered all the evidence adduced at the hearing and the
  3        arguments and/or statements of counsel, and the Pretrial Services
 4         Report/recommendation.
  5

 6                                                        V.
 7         The Court bases the foregoing findings) on the following:
 8         A.(~ As to flight risk:                hLIV~?~t~f'e Df ~ f~~,Q,~I1SeS i L1X11~Utc.~i a
 9                                                                                    ~I1.~!~'~ii

 10                     ~c~-►,r~° ~ar~a~nts
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 16        B. (1~        As to danger:       ~XI ((Vl~l U~u rQC~'Y'G~
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24                                                        VI.
25         A. ( )        The Court finds that a serious risk exists that the defendant will:
26                    1. () obstruct or attempt to obstruct justice.
27                    2. () attempt to/ ( )threaten, injure or intimidate a witness or juror.
28

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  1        B. The Court bases the foregoing findings) on the following:
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 ~                                                   VII.
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11        A. IT IS THEREFORE ORDERED that the defendant be detained prior to trial.
12        B. IT IS FURTHER ORDERED that the defendant be committed to the
13             custody ofthe Attorney General for confinement in a corrections facility
14             separate, to the extent practicable, from persons awaiting or serving
15             sentences or being held in custody pending appeal.
16        C. IT IS FURTHER ORDERED that the defendant be afforded reasonable
17            opportunity for private consultation with counsel.
18        D. IT IS FURTHER ORDERED that, on order of a Court ofthe United States
19            or on request of any attorney for the Government,the person in charge of
20            the corrections facility in which the defendant is confined deliver the
21            defendant to a United States marshal for the purpose of an appearance in
22            connection with a court proceedin                                ~ ~p
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                              ~'~1G~"
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25
26 DATED: Auger42020                                      C~~

27                                                 HONORABLE ALICIA G. ROSENBERG
                                                   UNITED STATES MAGISTRATE JUDGE
28

                              ORDER OF DETENTION AFTER HEARING (18 U.S.C. §3142(1))

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